I dissent from the proposition that Emil Dieudonne is liable in this case. It was necessary, in my opinion, to establish a partnership in fact, and this the evidence failed to do. There was a "holding out," but my view is that this does not create a liability, under the facts here, either on the doctrine of estoppel or that of invitation. The fact that the firm name remained "E. Dieudonne  Son" had nothing to do with the happening of the accident to plaintiff. It does not appear that in going upon the premises, which were not inherently dangerous, plaintiff was relying upon the exercise of care on the part of the elder Dieudonne. The doctrine of invitation, upon which the majority opinion predicates liability, has no application, in my opinion, where the party sought to be held is not in fact in possession or control of the premises.